     Case
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                                                                    ofof
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     Federal Public Defender
 2   State Bar No. 11479
     RAQUEL LAZO
 3   Assistant Federal Public Defender
     State Bar No. 8540
 4   411 E. Bonneville, Ste. 250
     Las Vegas, Nevada 89101
 5   (702) 388-6577/Phone
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 6   Raquel_Lazo@fd.org

 7   Attorney for In Seon Seong

 8
                                   UNITED STATES DISTRICT COURT
 9
                                         DISTRICT OF NEVADA
10
11   UNITED STATES OF AMERICA,                                    Case No. 12-cr-268-JAD-CWH

12                    Plaintiff,                                STIPULATION TO CONTINUE
                                                                  SENTENCING HEARING
13             v.
                                                                       (First Request)
14   IN SEON SEONG,

15                    Defendant.

16
17             IT IS HEREBY STIPULATED AND AGREED, by and between Daniel G. Bogden,
18   United States Attorney, and Kimberly M. Frayn, Assistant United States Attorney, counsel for
19   the United States of America, and Rene L. Valladares, Federal Public Defender, and Raquel
20   Lazo, Assistant Federal Public Defender, counsel for In Seon Seong, that the Sentencing
21   Hearing currently scheduled on November 21, 2016 at 10:00 a.m., be vacated and continued to
22   a date and time convenient to the Court, but no earlier than ninety (90) days.
23             This Stipulation is entered into for the following reasons:
24             1.     The parties desire additional time to conduct research into pending restitution
25   issues.
26             2.     The defendant is not in custody and does not oppose a continuance.
     Case
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 1        3.     The parties agree to the continuance.
 2        This is the first request for a continuance of the sentencing hearing.
 3        DATED this 10th day of November, 2016.
 4
 5   RENE L. VALLADARES                             DANIEL G. BOGDEN
     Federal Public Defender                        United States Attorney
 6
 7       /s/ Raquel Lazo                                /s/ Kimberly M. Frayn
     By_____________________________                By_____________________________
 8   RAQUEL LAZO                                    KIMBERLY M. FRAYN
     Assistant Federal Public Defender              Assistant United States Attorney
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     Case
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 1                                UNITED STATES DISTRICT COURT

 2                                       DISTRICT OF NEVADA

 3
     UNITED STATES OF AMERICA,                                     Case No. 12-cr-268-JAD-CWH
 4
                    Plaintiff,                                               ORDER
 5
            v.
 6
     IN SEON SEONG,
 7
                    Defendant.
 8
 9
10          IT IS THEREFORE ORDERED that the sentencing hearing currently scheduled for

11   Monday,      November       21,   2016   at   10:00   a.m.,    be   vacated   and   continued   to

12   Monday, February 27, 2017,
     _____________________ at theat theofhour
                                  hour        of 9:00___.m.;
                                          ____:____   a.m. or to a time and date convenient to

13   the court.

14    DATED this 14th
          DATED   this day of November,
                       _______           2016. 2016.
                               day of November,

15
16                                                   _______________________________
                                                     UNITED STATES DISTRICT JUDGE
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